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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
Helene Mershon,                                     :
                                                      Civil Action No.: ______
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Farmers Insurance Company, Inc.,                    :
                                                      COMPLAINT
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

        For this Complaint, the Plaintiff, Helene Mershon, by undersigned counsel, states as

follows:


                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here, Plaintiff resides in this judicial district, and a substantial portion of the

acts giving rise to this action occurred here.


                                              PARTIES

        4.      The Plaintiff, Helene Mershon (“Plaintiff”), is an adult individual residing in

Newporville, Pennsylvania, and is a “person” as defined by 47 U.S.C. § 153(10).

        5.      The Defendant, Farmers Insurance Company, Inc. (“Farmers”), is a California

business entity with an address of 4680 Wilshire Boulevard, Los Angeles, California 90010, and

is a “person” as defined by 47 U.S.C. § 153(10).
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                                              FACTS

        6.      Farmers contacted Plaintiff by placing calls to Plaintiff’s cellular telephone.

        7.      At all times mentioned herein, Farmers contacted Plaintiff on her cellular

telephone using an automated telephone dialing system (“ATDS”) and/or by using artificial or

pre-recorded messages.

        8.      When Plaintiff answered Farmers’ telephone calls, she heard a pre-recorded

message offering an insurance quote on behalf of Farmers.

        9.      Plaintiff never provided her express consent to Farmers to be contacted on her

cellular telephone.

        10.     Additionally, Plaintiff’s cellular telephone is registered on the National Do Not

Call list.

        11.     On at least one occasion, Plaintiff called the number provided in Farmers’

messages to speak with a live representative, Ken.

        12.     In conversations with Ken, Plaintiff requested Farmers cease all calls to her

cellular telephone.

        13.     Despite such requests, Farmers proceeded to hound Plaintiff with telephone calls

to her cellular phone.

                                             COUNT I

        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, ET SEQ.

        14.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.




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        15.       Farmers contacted Plaintiff by means of an automated telephone dialing system

and/or by using a prerecorded or artificial voice on her cellular telephone in violation of 47

U.S.C. § 227(b)(1)(A)(iii).

        16.       Plaintiff either never provided express consent to Defendant or the Creditor to call

her cellular telephone number, or Plaintiff revoked her consent to be contacted by Defendant on

her cellular telephone by her repeated demands to cease calling her cellular telephone.

        17.       The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        18.       Each of the aforementioned calls made by Defendant constitutes a negligent or

intentional violation of the TCPA, including each of the aforementioned provisions of 47 U.S.C.

§ 227, et. seq.

        19.       As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

        20.       As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                         PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                     1. Statutory damages of $500.00 for each violation pursuant to 47 U.S.C. §

                         227(b)(3)(B);

                     2. Treble damages for each violation determined to be willful or intentional

                         pursuant to 47 U.S.C. § 227(b)(3)(C) and;


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                3. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: May 14, 2013

                                           Respectfully submitted,

                                           By /s/ JBB8445

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